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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CAPTAIN DANIEL KNICK                                   :
                                                       :
                               Plaintiff,              :
                                                       :
               v.                                      :
                                                       :
LLOYD J. AUSTIN, III, in his                           :    Case No: 22-cv-1267 BAH
official capacity as Secretary of Defense;             :
FRANK KENDALL, III, in his                             :
official capacity as Secretary of the Air Force;       :
ROBERT I. MILLER, in his                               :
official capacity as Surgeon General of the            :
Air Force, and                                         :
RUDOLF WILHELM KUEHNE, JR.                             :
in his official capacity as Commander,                 :
Air Force Flight Standards Agency                      :
                                                       :
                               Defendants.             :
                                                       :

      PLAINTIFF’S MOTION TO TRANSFER PURSUANT TO 28 U.S.C. §1404(a)

       COMES NOW, the plaintiff Air Force Officer, Daniel Knick, by and through counsel,

Jeremy H. Gonzalez Ibrahim, Jason I. Poblete, and Mauricio J. Tamargo, and respectfully

requests that this Honorable Court transfer the captioned case to the Middle District of Georgia

pursuant to 28 U.S.C. §1404(a) for the following reasons:

       1. On May 16, 2022, the Court issued the following: “MINUTE ORDER (paperless)

DIRECTING plaintiff, in light of the [13] Notice of Related Cases filed by defendants, to file,

by May 19, 2022, at 2:00 PM, a statement of his position as to whether this case should be

transferred to the Calendar and Case Management Committee, pursuant to LCvR 40.5(c)(2), for

potential reassignment to Judge Kollar-Kotelly, due to the overlap in subject matter between this

case and to the cases identified in the Notice.”

       2. The Minute Order was stimulated by the Notice of Related Cases filed by the

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defendants [D.I. 13], which cited the following cases: Church v. Biden, No. 21-cv-2815 (D.D.C.

2021) (CKK); Navy SEAL 1-4 v. Austin, No. 22-cv-688 (D.D.C. 2022) (CKK); and Creaghan v.

Austin, No. 22-cv-981 (D.D.C. 2022) (CKK).

        3. In the plaintiff’s response to the Minute Order, the plaintiff steadfastly maintained that

the cases were unrelated for a number of reasons. [D.I. 15]. In the Court’s Memorandum denying

injunctive relief, the Court acknowledges these reasons [D.I. 20 at fn. 5].

        4. The Court’s finding in the Memorandum denying injunctive relief, in regard to the

cases cited in the Notice of Related cases, stated that “The Court finds the analysis set out in the

Prior Opinions to be thorough and persuasive and adopts these opinions’ reasoning here.

Accordingly, it is not necessary to laboriously “reinvent the wheel” here for a case that presents

the same central questions, except to the limited extent plaintiff presents new arguments.” (Id. at

pp. 4-5). Plaintiff asserts that this finding ruled that plaintiff’s case was related to the three cases

in the district cited in the Notice of Related Cases.

        5. In plaintiff’s response to the Minute Order, plaintiff requested that should the Court

rule that the cases were related, transfer to the Middle District of Georgia was respectfully

requested.1 This request was made prior to the Court’s ruling denying injunctive relief.



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  “Indeed, if the cases cited by the defendants in the Notice are “related’ – the defendants should
have noticed this District Court of pending/ongoing litigation in other federal courts that are
“related” thereby requiring the cases in this district to be transferred to the federal districts where
filings pre-dated the cases in this district. See Utahamerican Energy, Inc. v. Dep't of Labor, 685
F.3d 1118, 1124 (D.C. Cir. 2012) citing W. Gulf Mar. Ass'n v. ILA Deep Sea Local 24, 751 F.2d
721, 730, 732 (5th Cir.1985) “(vacating an injunction when the district court “should have
stayed, dismissed, or transferred [the plaintiff's] action” because a related case was already
pending in another federal court).” (emphasis added). The Circuit Court in Utahamerican went
on to hold that ““The usual “rule in this circuit has been that ‘[w]here two cases between the
same parties on the same cause of action are commenced in two different Federal courts, the one
which is commenced first is to be allowed to proceed to its conclusion first.’” Id. citing Wash.
Metro. Area Transit Auth. v. Ragonese, 617 F.2d 828, 830 (D.C.Cir.1980). There are at least two
related cases involving the Air Force who’s filing well predate plaintiff’s Complaint.3 Should the
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        6. Given the issue of relatedness as it exists, plaintiff submits that it is both prudent and

necessary to renew the request for transfer and does so herein.

        7. The case of Air Force Officer v. Austin, et al. Case No. 5:22-cv-00009-TES (M.D.

Ga.), predates the plaintiff’s filing, and involves a servicemember with the United States Air

Force. The three defendants in this case are Austin, Miller, and Kendall, the same as plaintiff’s

filing (plaintiff has an additional defendant, but all are sued in their official capacity only).

        8. The federal court in the Middle District of Georgia has already exercised subject

matter and personal jurisdiction over defendants Austin, Miller and Kendall. The forum is

convenient to the defendants, particularly as the defendants already have active defense counsel

in play in that district.

        WHEREFORE, for the reasons set forth above, plaintiff respectfully renews his request

that the case be transferred to the Middle District of Georgia.

                                                        Respectfully submitted,


                                                        /s/ Jeremy H. Gonzalez Ibrahim
DATE: June 16, 2022                                     Jeremy H. Gonzalez Ibrahim
                                                        (PA Bar No: PA53019)
                                                        Of Counsel, Poblete Tamargo, LLP
                                                        510 King Street, Suite 340
                                                        Alexandria, VA 20036
                                                        jibrahim@pobletetamargo.com
                                                        703−566−3037




Court rule, as the defendants advocate, that plaintiff’s Complaint is related to the three cases
cited in their Notice for the reasons stated (“the above captioned case is related to the following
active cases in this district which involve service member challenges to the Department of
Defense COVID-19 vaccination requirement under the Religious Freedom Restoration Act and
First Amendment to the Constitution.”), then, as a related case for those reasons, this Court
should transfer plaintiff’s case to the Middle District of Georgia (plaintiff would consent),
pursuant to 28 U.S.C. 1404(a).
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                                  /s/ Jason I. Poblete
                                  Jason I. Poblete
                                  (DC Bar No.: 500414)
                                  Global Liberty Alliance
                                  510 King Street, Suite 340
                                  Alexandria, VA 20036
                                  jpoblete@globallibertyalliance.org
                                  703−566−3041

                                  /s/ Mauricio J. Tamargo
                                  Mauricio J. Tamargo
                                  (DC Bar No.: 469839)
                                  pending admission D.D.C.
                                  Global Liberty Alliance
                                  510 King Street, Suite 340
                                  Alexandria, VA 20036
                                  mtamargo@globallibertyalliance.org
                                  703−566−3041




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